                       Case 1:21-cv-00250-BLW Document 1 Filed 06/10/21 Page 1 of 5




     1
          Wyatt Johnson, ISB: 5858
     2
          ANGSTMANJOHNSON
          199 N. Capitol Blvd., Ste. 200
     3    Boise, Idaho 83702
          Phone: (208) 384-8588
     4    Fax: (208) 629-2157
          Email: wyatt(%angstman. com
     5


     6
          Attorney for Erin D. Whitingand
     7    Magic Plumbing LLC
 8
                                              UNITED STATES DISTRICT COURT
 9
                                               FOR THE DISTRICT OF IDAHO
10

11
         ERIND. WHITING,an individual; and                   Case No.
12       MAGICPLUMBINGLLC, an Idaholimited
         liability company,
13                                                           COMPLAINT
14
                                Plaintiffs,

15       vs.

16
         MAGIC VALLEY ELECTRIC, LLC, an Idaho
17       limited liability company; and Does 1-10
         whose true names are unknown,
18
                                Defendants.
19

20

21

22
                   COMES NOW Plaintiffs, Erin D. Whiting and Magic Plumbing, LLC (collectively referred

23       to as "Plaintiffs" or "Magic Plumbing"), by and through their counsel of record, ANGSTMAN
24
         JOHNSON, and complain and allege against the above-captioned Defendant Magic Valley
25
         Electric, LLC, ("Defendant" or "Magic Valley Electric"), as follows:
26

27

28

29



         COMPLAINT - PAGE 1
         A»J Matter: 8425-004
                          Case 1:21-cv-00250-BLW Document 1 Filed 06/10/21 Page 2 of 5




     1
                                           PARTIES JUMSDICTION ANDVENUE
     2
                     1.         Plaintiff, Erin D. Whiting ("Whiting"), is a resident ofthe State ofIdaho and owner
     3

          ofMagic Plumbing LLC.
     4


     5               2.         Plaintiff, Magic Plumbing, LLC ("Magic Plumbing") is an Idaho limited liability
     6    company in good standing, with a registered address of520North 36th Street, Nampa, Idaho 83687.
     7
                     3.         Defendant, Magic Valley Electric, LLC ("Magic Valley Electric") is an Idaho
     8
          limited liability company with a registered address of 395 Railway Street, Jerome, Idaho 83338.
     9


 10
                     4.         Jurisdiction is proper in the federal courts based upon 28 U. S.C. § 1331 because

 11       this case presents claims arising under the laws ofthe United States.
 12
                     5.         Venue is proper in the District ofIdahopursuant to 28 U. S.C. § 1391(b).
13
                                                 GENERALALLEGATIONS
14

15
                   6.           Erin Whiting has been doing business in Idaho under the name "Magic Plumbing"

16       since 1997. Magic Plumbing offers plumbing and plumbing cont-actor services, drain, and sewer
17
         cleaning and rootering sendees, and repair of residential plumbing systems (collectively,
18
         "plumbing sendees"). Since that time through the present time, Magic Plumbing has continuously
19
         promoted andperformed its plumbing services throughout the State ofIdaho, with an emphasis on
20

21       the geographical region of the Treasure Valley, southwestern Idaho. Magic Plumbing has also
22       perfonned plumbing contractor services in the State of Oregon.
23
                   7.           Onor about January 2, 2014, Magic Plumbing LLC was validly formed by Whiting
24
         as an Idaho limited liability corporation by filing articles oforganization with the Idaho Secretary
25
         of State.
26

27

28

29



         COMPLAINT- PAGE 2
         A»J Matter: 8425-004
                          Case 1:21-cv-00250-BLW Document 1 Filed 06/10/21 Page 3 of 5




      1
                      8.          Magic Plumbing has advertised its services in Idaho since 1997. Magic Plumbing
     2
            has advertised its plumbing services through radio advertisements, phone book advertisements,
     3

            social media, and word-of-moufh.
     4


     5               9.           Magic Plumbing advertised its plumbing services in Eastern Oregon through radio
     6     advertisements in roughly 2013.
     7
                     10.          Since 1997, Magic Plumbing has spent considerable time, money, and effort to
     8


     9
           promote its business and associated intellectual property in southwestern Idaho and surrounding

 10
           areas, including Eastern Oregon.

 n
                     11.         Because of its continuous and exclusive use of its intellectual property, Magic
 12
           Plumbing owns valid and subsisting common law rights to its intellectual property.
 13
                     12.         The intellectual property includes at least the following mark, the name "Magic
 14

           Plumbing" (the "mark").
15

16                   13.         OnAugust 14, 2018, Defendantsfiled a CertificateofAssumedBusinessNameof
17
          Magic Valley Plumbing, an entity with a substantially similar name as Magic Plumbing.
18
                     14.         After its 2018 filing, Magic Valley Electric started using that assumed name to
19

20
          perform plumbing services in southwestern Idaho. Magic Valley Electric's use of"Magic Valley
21        Plumbing"hascausedconfusion amongthepublic regardingtheidentity ofthe companies.
22
                    15.          On August 6 and 7, 2020, Magic Valley Electric filed for registration of the
23
          trademarks, "MAGIC ELECTRIC PLUMBING HEATING AIR" and "MAGIC ELECTRIC
24
          PLUMBING" with the United States Patent and Trademark Office.
25

26                  16.          Without authorization from Magic Plumbing, Magic Valley Electric has used and
27        is continuing to use trade names that are confusingly similar to Magic Plumbing's mark.
28

29



          COMPLAINT - PAGE 3
          A*J Matter: 8425-004
                         Case 1:21-cv-00250-BLW Document 1 Filed 06/10/21 Page 4 of 5




     1
                     17.         Magic Valley Electric's unauthorized use in commerce of fhe combination of
     2
          "MAGIC" and "PLUMBDSTG" has andwill continue to cause confusion, mistake, or deception and
     3

          constitutes common law trademark infiingement.
     4


     5              18.         Magic Valley Electric has committed the acts ofinfringement with full knowledge
     6    of Magic Plumbing's prior rights in its mark and with the intent to cause confusion and trade on
     7
          MagicPlumbing'sgoodwill.
     8

                    19.         Magic Valley Electnc's infiingement actions havehada substantial effect onMagic
     9


 10
          Plumbing'sbusiness.

 11                 20.         Magic Valley Electric's conduct is causing immediate and irreparable harm and
 12
          injury to Magic Plumbing, including damage to its goodwill and reputation, and will continue to
13
          do both if allowed to continue to infiinge.
14

15                 21.          Magic Valley Electric's infringement is in violation of Magic Plumbing's rights

16       under 15 USC §1125.
17
                            COUNT I - COMMON LAW TRADEMARK INFRWGEMENT
18                                                       15 U. S. C. § 1125

19                 22.          The foregoing paragraphs are incorporated by reference as if fully set forth herein.
20
                   23.          Magic Plumbing beganusing themark in 1997. Magic Plumbing uses the mark in
21
         Idaho and Oregon. Magic Plumbing has used the mark continuously since 1997. The mark is
22

23
         distinctive and identifies the Plaintiff, Magic Plumbing.

24                 24.          Magic Valley Electric has used "Magic Valley Plumbing" in marketing directly to
25
         competing business interests in Idaho. Defendant's use of the mark is both likely to cause
26
         consumer confusion, and has caused consumer confusion.
27

28
                   25.      Plaintiffs Magic Plumbing and/or Erin Whiting have suffered economic and

29       reputational injury because of Defendant's unauthorized use of "Magic Valley Plumbing."


         COMPLAmT - PAGE 4
         A^J Matter: 8425-004
                        Case 1:21-cv-00250-BLW Document 1 Filed 06/10/21 Page 5 of 5




     1
          Accordingly, they are entitled to an award of damages in such amount as may be proven at trial,
     2
          aswell aspreliminary and permanent injunctive reliefpreventing Defendant from continuing the
     3

          use of "Magic Valley Plumbing."
     4


     5             26.         Magic Valley Electric has received profits from the use ofthe mark.

     6                                            ATTORNEY FEES AND COSTS
     7
                   27          Plaintiffs request attorney fees and costs pursuant to 1 5 USC § 1117,
     8

          17 USC § 505, and any applicablestatute or contract.
     9


 10
                                                  RE UEST FORJUDGMENT

 n
                   Based upon the facts set forth in this Complaint, Plaintiffs request entry ofjudgment by
 12
          this Court:
 13
                   (1)         Awarding Plaintiffs damages in such amounts asmay beproven at trial, but not
 14

15
                               less than thejurisdictional minimum ofthe District Court;

16                 (2)         For preliminary and permanent injunctive relief:
17
                         a. Preventing Defendant from using "Magic Valley Plumbing" or substantially
18
                               similar marks in business or fa-ade.
19

20
                   (3)         Foranawardofattorney fees andcosts pursuant to any applicablebasisarisingby
21                             law or contract.

22
                  (4)          For anyother leg^l-^r equitable reliefas the facts ofthis casemay warrant.
23
                               DATED this-h        day of June, 2021.
24

25
                                                                                  . JOHNSON
26                                                                      At orneyfor Erin D. Whiting and
                                                                        Magic Plumbing LLC
27

28

29



         COMPLAINT- PAGE 5
         A»J Maner: 8425-004
